                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )       Case No. 1:12-cr-96
v.                                                  )
                                                    )       Judge Collier/Lee
BILLY WAYNE BLASINGIM                               )

                               MEMORANDUM AND ORDER

       BILLY WAYNE BLASINGIM (“Defendant”) came before the Court for an initial
appearance on January 8, 2021, in accordance with Rule 32.1 of the Federal Rules of Criminal
Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”) [Doc. 26].

        After being sworn in due form of law, Defendant was informed of his privilege against
self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment to
the United States Constitution.

        The Court determined Defendant wished to be represented by an attorney and that he
qualified for the appointment of an attorney to represent him at government expense.
Consequently, the Court APPOINTED attorney Gianna Maio to represent Defendant.

       Defendant was furnished with a copy of the Petition, and had an opportunity to review that
document with his attorney. The Court determined that Defendant was able to read and understand
the Petition with the assistance of his counsel. In addition, AUSA Frank Clark explained to
Defendant the specific charges contained in the Petition. Defendant acknowledged he understood
the charges in the Petition.

        The Government moved Defendant be detained pending disposition of the Petition or
further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
detention hearing and what those hearings entail. After conferring with his counsel, Defendant
waived the preliminary hearing and detention hearing.

        The Court found that probable cause exists to demonstrate that Defendant committed
violations of his conditions of supervised release, and that Defendant did not carry the burden of
establishing by clear and convincing evidence that he would not flee or pose a danger to any other
person or to the community. Consequently, the Court GRANTED the Government’s oral motion
to detain Defendant pending disposition of the Petition or further Order of this Court.



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      It is, therefore, ORDERED that:

           1. The Government’s motion that Defendant be DETAINED WITHOUT
              BAIL pending the revocation hearing is GRANTED.

           2. Unless revised by further order of the Court, the United States Marshal's
              Service shall transport Defendant to the revocation hearing before United
              States District Judge Curtis L. Collier on January 27, 2021, at 2:00 p.m.

      ENTER.

                                          /s/ Christopher H. Steger
                                          UNITED STATES MAGISTRATE JUDGE




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